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                  Ex. 04
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II.     EXECUTIVE SUMMARY

        4.      As described more fully herein, the results of my independent research and

analysis in the matter to date relate principally to two areas .

        A.      Apple App Store operating margins

        5.




        6.




                                                                                             2
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                                                                     I have estimated the

operating margin percentages for the App Store that include identified App Store-specific

expense items as well as a fully burdened allocation of corporate-level expenses, as more fully

discussed and set forth herein.


       B.      Online marketplace platfo1m operating margins

       7.      Based on parameters provided to me by Dr. David Evans of Global Economics

Group, LLC and my independent research and analysis, I have identified firms that operate

principally as online marketplace platfo1ms, or that maintain discrete business segments that

operate principally as online marketplace platfo1ms. Based on my independent research and

analysis, I have summarized herein the operating income percentages for these online

marketplace platfo1ms on a fully burdened basis.




                                                                                                  3
